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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


   BILLJCO, LLC                                         )
                                                        ) CASE NO: 2:21-cv-00181-JRG
   v.                                                   )       (Lead Case)
                                                        )
   CISCO SYSTEMS, INC.                                  )
                                                        )
                                                        )

   BILLJCO, LLC                                         )
                                                        )
   v.                                                   ) CASE NO: 2:21-cv-00183-JRG
                                                        )      (Member Case)
   HEWLETT PACKARD ENTERPRISE                           )
   COMPANY, ARUBA NETWORKS, LLC                         )
                                                        )
                                                        )


   UNOPPOSED MOTION TO AMEND BRIEFING SCHEDULE FOR DEFENDANT CISCO
               SYSTEMS, INC.’S MOTION TO TRANSFER VENUE



        Plaintiff BillJCo, LLC. moves the court for an Order amending the briefing schedule for Defendant

Cisco Systems, Inc.’s (“Cisco”) Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a) (Dkt. 36) filed

on October 12, 2021. Cisco is unopposed to this request.

        Cisco’s Motion to Transfer present factual issues about the evidence and witnesses that will be

relevant to this case and the location(s) of such evidence and witnesses. Because of these issues, Plaintiff

anticipates serving venue discovery on Cisco consisting of interrogatories, requests for production, and

deposition notices related to certain facts surrounding the transfer arguments raised by Cisco. Accordingly,

Plaintiff asks that the Court enter an Order allowing for each side to propound the following discovery:
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                5 Interrogatories with responses due 20 days after service


                10 Requests for Production with responses due 20 days after service


                10 hours of deposition testimony

The parties have agreed that venue discovery will not count against the discovery limitations agreed upon in

the Discovery Order. Additionally, to permit time to complete the requested discovery, Plaintiff respectfully

requests that the parties complete venue discovery not later than January 14, 2022, that Plaintiff’s time to

file a response to Cisco’s Motion be extended to two weeks after venue discovery is complete, and that

Cisco’s Reply be due one week after Plaintiff’s Response. In the interest of avoiding delay, Plaintiff further

requests that non-venue discovery not be stayed during this time.

         The parties have met and conferred, and Cisco is unopposed to the relief requested in this motion.

Accordingly, Plaintiff requests the Court enter the attached proposed order.


Dated: October 25, 2021                                   /s/       Brian R. Michalek___
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                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing document was filed electronically in compliance

with Local Rule CV-5(a). As such, this motion was served on all counsel of record who have consented to

electronic service on this 25th day of October, 2021.




                                                            /s/ Brian Michalek
                                                            Brian Michalek




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                                 CERTIFICATE OF CONFERENCE

         I certify that, pursuant to Local Rule CV-7(i), counsel for BILLJCO, LLC and Defendant Cisco

Systems, Inc. have complied with the meet and confer requirement of the Court and this motion is unopposed.

The parties met and conferred on October 25, 2021, and reached an agreement as to the form and substance

of the attached order.


                                                        /s/ Brian R. Michalek




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